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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

TARWONIA ALBROW,                                 §
             Plaintiff,                          §
                                                 §
VS.                                              §
                                                 § C.A. No. 4:19-cv-03558
                                                 §
CITIMORTGAGE, INC.                               §
               Defendant.                        §
                                                 §
                                                 §

 __________________________________________________________________

                            JOINT SETTLEMENT STATUS REPORT
______________________________________________________________________________

          Pursuant to the Court’s Order to Report (Doc. No. 14), Plaintiff Tarwonia Albrow

(“Plaintiff”) and Defendant CitiMortgage, Inc. (“Defendant”) submit this Joint Settlement Status

Report.

          1.    Plaintiff has extended an initial offer of settlement.

          2.    Defendant is in the process of reviewing Plaintiff’s offer but at this time has not yet

completed its review.

          3.    The parties remain optimistic that this matter can be resolved through settlement

but need more time to continue settlement negotiations.


                                               Respectfully submitted,

                                               /s/ Robert T. Mowrey by perm. KLK             .
                                               ROBERT T. MOWREY
                                               rmowrey@lockelord.com
                                               State Bar No. 14607500
                                               Southern District Number: 9529
                                               LOCKE LORD LLP
                                               2200 Ross Avenue, Suite 2800

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                               Dallas, Texas 75201-6776
                               (214) 740-8000 – telephone
                               (214) 740-8800 – facsimile

                               ATTORNEY-IN-CHARGE FOR
                               DEFENDANT

                               OF COUNSEL:
                               KURT LANCE KROLIKOWSKI
                               State Bar No. 24074548
                               Southern District Number: 1146373
                               RUSSELL A. STOCKMAN
                               State Bar No. 24110412
                               Southern District Number: 3351175
                               LOCKE LORD LLP
                               600 Travis Street, Suite 2800
                               Houston, Texas 77002-3095
                               (713) 226-1200 – telephone
                               (713) 223-3717 – facsimile




                               /s/ Kerry L. Prisock by perm. KLK___
                               Robert C. Vilt
                               State Bar No. 00788586
                               Southern District Number: 20296
                               Kerry L. Prisock
                               State Bar No. 24082005
                               Southern District Number: 3452775
                               Vilt and Associates - TX, P.C.
                               5177 Richmond Avenue, Suite 1142
                               Houston, TX 77056
                               clay@viltlaw.com
                               kerry@viltlaw.com
                               Telephone: 713.840.7570
                               Fax: 713.877.1827

                               ATTORNEYS FOR PLAINTIFF




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                                 CERTIFICATE OF SERVICE

I hereby certify that a true and correct copy of the foregoing document has been sent to all parties
shown below, via electronic notification, certified mail return receipt requested, facsimile, or hand
delivery on this the 6th day of March, 2020:

Robert C. Vilt
Kerry Prisock
Vilt and Associates, P.C.
5177 Richmond Avenue, Suite 1142
Houston, TX 77056
clay@viltlaw.com
kerry@viltlaw.com
Fax: 713.877.1827


                                              /s/ Kurt Lance Krolikowski
                                              Kurt Lance Krolikowski




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